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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                SUPERSEDING INFORMATION

                       V.                                Sl 23 Cr. 340 (VM)

 SHAKEEB AHMED,

                            Defendant.



                                   COUNT ONE
  (Computer Fraud - Unauthorized Access to a Protected Computer to Further Intended
                                      Fraud)

       The United States Attorney charges:

                                              Overview

       1.      In or about July 2022, SHAKEEB AHMED, the defendant, a United States citizen

who was residing in Manhattan, New York, orchestrated and executed a scheme to fraudulently

obtain approximately $9 million worth of cryptocurrency (the "Attack") from a decentralized

cryptocurrency exchange (the "Crypto Exchange"), including cryptocurrency deposited by the

Crypto Exchange's users. AHMED conducted the Attack by exploiting a vulnerability in the

Crypto Exchange and inserting fake pricing data to fraudulently generate millions of dollars' worth

of inflated fees that AHMED did not in fact earn, but which AHMED was able to withdraw from

the Crypto Exchange in the form of cryptocurrency, thereby defrauding the Crypto Exchange and

its users, whose cryptocurrency AHMED had fraudulently obtained. At the time of the Attack,

AHMED was employed as a senior security engineer at a leading international technology

company unrelated to the Crypto Exchange. His resume reflected skills in, among other things,

reverse engineering smart contracts and blockchain audits, which are some of the specialized skills

AHMED used to execute the Attack.
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       2.      After the Attack, SHAKEEB AHMED, the defendant, laundered the stolen

cryptocurrency through a series of transactions designed to conceal the source and owner of the

funds , including through: (a) conducting token-swap transactions; (b) "bridging" fraud proceeds

from the Solana blockchain over to the Ethereum blockchain; (c) exchanging fraud proceeds into

Monero, an anonymized and particularly difficult cryptocurrency to trace ; and (d) using overseas

cryptocurrency exchanges.

       3.      After the Attack, SHAKEEB AHMED, the defendant, also searched online for

information about, among other things, the Attack, his own criminal liability for the Attack,

criminal defense attorneys with expertise in similar cases, law enforcement' s ability to successfully

investigate the Attack, and fleeing the United States to avoid criminal charges.

       4.      After the Attack and once in possession of the stolen fees in cryptocurrency,

SHAKEEB AHMED, the defendant, decided to return a substantial portion of the fraud proceeds

to the Crypto Exchange, and to provide information to the Crypto Exchange about how AHMED

accomplished the Attack, if the Crypto Exchange refrained from referring his fraudulent scheme

to law enforcement. AHMED ultimately kept approximately $1 .5 million worth of fraudulently

obtained cryptocurrency.

                              Background on the Crypto Exchange

       5.      The Crypto Exchange was incorporated overseas and operates on the Solana

blockchain. At all relevant times, the Crypto Exchange was a decentralized exchange that allowed

users to deposit and exchange different kinds of cryptocurrencies.

       6.      A decentralized exchange does not rely on any sort of entity or company to act as

an intermediary between buyers and sellers. Instead, it relies on "smart contracts" associated with

"liquidity pools," analogous to pots of money, in order to serve as an "automated market maker."



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A "smart contract" is a computer program that runs on a blockchain. An "automated market

maker" controls a "liquidity pool" of different types of cryptocurrencies, and uses a smart contract

to buy and sell the cryptocurrencies in that liquidity pool.

       7.      More specifically, the Crypto Exchange was a concentrated liquidity market maker,

meaning that it allowed individuals or entities depositing cryptocurrency into its liquidity pools-

referred to as "liquidity providers"-to set the price ranges-referred to as "ticks"-at which the

individuals' cryptocurrency in the liquidity pool would be traded. For example, an individual who

deposits 100 Ether into the concentrated liquidity market maker's liquidity pool can control the

range at which the 100 Ether is offered for liquidity, so the individual might, for example, provide

the 100 Ether subject to the limitation that it only be traded when the price is between .9 and 1.1

Bitcoin. In this example, the liquidity provider would profit by receiving a percentage of the

transaction fees generated if the specified price range was triggered. In this example, .9 Bitcoin

would be the lower tick, and 1.1 Bitcoin would be the upper tick.

        8.     At all relevant times, the Crypto Exchange paid fees to liquidity providers who

deposited cryptocurrency into a liquidity pool. Those fees were calculated by a smart contract that

took into account, among other things, the total amount of cryptocurrency the liquidity provider

deposited and the actual amount of liquidity that was provided based on the price ranges selected

by the liquidity provider. In essence, the greater the amount of cryptocurrency and liquidity

provided, the higher the fee the liquidity provider could earn. More broadly, larger cryptocurrency

deposits on the Crypto Exchange limit price volatility and increase liquidity.

        9.     One of the inputs into the smart contract that calculated those fees was referred to

as a "tick account." The tick accounts were owned and controlled by the Crypto Exchange-in

other words, the blockchain showed that the owner of the tick accounts was the Crypto Exchange,



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and not any user or other third party. The tick accounts contained data about, among other things,

how much liquidity all liquidity providers had provided for a particular price range, or tick. Users

could not create or own tick accounts.

       10.     Another input into the smart contract that calculated the fees was referred to as a

"position account." Position accounts kept track of a user's share in a liquidity pool. In contrast

to a tick account, which users could not create, the Crypto Exchange was set up to allow any user

to create a "position account."

       11.     Position accounts and tick accounts contained different types of data, but the

general format of the two accounts was similar. As structured by the Crypto Exchange, both tick

accounts and position accounts were listed as owned by the Crypto Exchange on the blockchain,

even though position accounts could be created by a user. SHAKEEB AHMED, the defendant,

exploited this vulnerability during the Attack, as described further below.

                              The Attack on the Crypto Exchange

       12.     To carry out the Attack, SHAKEEB AHMED, the defendant, among other things:

(a) the day before the Attack, conducted a series of test transactions of nominal value with the

Crypto Exchange to obtain tick data and locate system vulnerabilities; (b) created at least two

accounts that were not tick accounts; (c) supplied one of these non-tick accounts with fake price-

tick data; and (d) carefully structured and designed these non-tick accounts to nonetheless falsely

appear as authentic tick accounts. In other words, AHMED used at least two non-tick accounts

that he intentionally created and designed to masquerade as tick accounts (the "Fake Tick

Accounts") to fraudulently cause the Crypto Exchange's smart contract to accept them as

legitimate tick accounts. As described below, AHMED used one such Fake Tick Account (the

"First Fake Tick Account") to generate millions of dollars of inflated fees based on the fake price-



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tick data he supplied, and the other Fake Tick Account (the "Second Fake Tick Account") to

withdraw millions of dollars ' worth of cryptocurrency.

         13.   On or about July 2, 2022, SHAKEEB AHMED, the defendant, created the First

Fake Tick Account and fraudulently caused the Crypto Exchange' s smart contract to accept it as

authentic. AHMED entered fake price-tick data into the First Fake Tick Account in order to

fraudulently cause the Crypto Exchange ' s smart contract to calculate that AHMED had provided

more liquidity to the pool than he had actually contributed, which generated large fees for Ahmed

that he had not legitimately earned. In other words, the Crypto Exchange ' s users legitimately earn

fees based on how much cryptocurrency they provide to the liquidity pool in relation to pool-wide

data. By entering fake price-tick data into the First Fake Tick Account, AHMED used fake data

to make it falsely appear to the Crypto Exchange that AHMED had provided more liquidity to the

pool than he actually had, and thus, AHMED was able to fraudulently generate fees for himself to

which he was not entitled. In so doing, AHMED defrauded both the Crypto Exchange and its

users.

         14.   To further the Attack, SHAKEEB AHMED, the defendant, took out a series of

cryptocurrency "flash loans" worth tens of millions of dollars from a cryptocurrency lending

platform (the "Crypto Lender"). A "flash loan" is an uncollateralized cryptocurrency loan without

borrowing limits that is taken out and repaid in a single transaction, and can be used in situations

where an individual sees an opportunity to immediately profit on the blockchain.

         15.   Over a period of several hours on or about July 2, 2022 and July 3, 2022,

SHAKEEB AHMED, the defendant, deposited the funds from the flash loans into the Crypto

Exchange 's liquidity pools, withdrew the funds , claimed a falsely inflated percentage of the flash

loans as fees from the Crypto Exchange through his deceptive use of the First Fake Tick Account,



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and then repaid the flash loans to the Crypto Lender. In total, as part of the Attack, AHMED took

out at least 21 flash loans from the Crypto Lender and used to them to generate falsely inflated

fees from five separate liquidity pools controlled by the Crypto Exchange.

          16.   As part of the Attack, SHAKEEB AHMED, the defendant, also needed to withdraw

the flash loan money that he had deposited into the liquidity pool-the principal-and return it to

the Crypto Lender. In order to process a withdrawal of the principal, the Crypto Exchange's smart

contract required a tick account that was listed as owned by the Crypto Exchange on the

blockchain, and that contained data matching the tick data from the fee-claiming process. To

satisfy this requirement, AHMED created the Second Fake Tick Account, a position account-

listed as owned by the Crypto Exchange-and manipulated its data to closely resemble a tick

account. Specifically, AHMED made a series of cryptocurrency deposits in specific amounts and

in a specific order, in order to manipulate the data in the Second Fake Tick Account so that it

contained data that matched certain of the data in the First Fake Tick Account. By doing this,

AHMED was able to fraudulently cause the Crypto Exchange's smart contract to treat AHMED ' s

position account-the Second Fake Tick Account-as a legitimate tick account. AHMED then

used the Second Fake Tick Account to withdraw the principal he owed and returned it to the Crypto

Lender.

          17.   An example of how SHAKEEB AHMED, the defendant, used the Fake Tick

Accounts and one of the flash loans to defraud the Crypto Exchange is described below. Because

each flash loan must be taken out and repaid as part of a single transaction on the blockchain, each

of the following events together occurred as a single transaction conducted by AHMED:




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               a.      On or about July 2, 2022, AHMED took out a flash loan from the Crypto

Lender of approximately 840,000 PAI (Parrot) ("PAI"). PAI is a digital stablecoin worth

approximately one dollar.

               b.      AHMED deposited the approximately 840,000 PAI into a liquidity pool

("Pool-1 ") controlled by the Crypto Exchange that covered exchanges between PAI and a second

cryptocurrency: USDC (USD Coin) ("USDC"). Like PAI, USDC is a digital stablecoin worth

approximately one dollar.

               c.      AHMED used the First Fake Tick Account, which contained fake price-tick

data supplied by AHMED, to claim inflated fees of approximately 1,133.93 PAI and 120.14

USDC.

               d.      AHMED then used the Second Fake Tick Account to withdraw his principal

of 840,000 PAI.

               e.      AHMED repeated the cycle four more times with the same flash loan. Each

time, he redeposited the 840,000 PAI into Pool-1, claimed inflated fees of approximately 1,133.93

PAI and 120.14 USDC through his use of the First Fake Tick Account, and withdrew his principal

of 840,000 PAI through his use of the Second Fake Tick Account.

               f.      After five cycles, AHMED returned the principal of 840,000 PAI to the

Crypto Lender, plus a small fee to the Crypto Lender, and kept falsely inflated fees from the Crypto

Exchange totaling approximately 5,669.65 PAI and 600.7 USDC.

        18.    SHAKEEB AHMED, the defendant, based on approximate U.S. dollar conversions

of the cryptocurrency valuations at the time, ultimately claimed approximately $9 million in

cryptocurrency as falsely inflated fees from 21 flash loans based on the falsified data in the First

and Second Fake Tick Accounts. The chart below shows the fees AHMED claimed from the 21



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flash loans, as well as the dates and times of the flash loans, the Crypto Exchange pools AHMED

exploited, and the amount of cryptocurrency AHMED borrowed:

           Date/Time       Crypto          Amount             Fees Extracted
           (UTC)           Exchange        Borrowed
                           Pool
           07/02/2022      PAI/USDC        840,000 PAI        5,669.65 PAI
           20:08:52                                           600.70 USDC
           07/02/2022      USDT/USDC       5,500,000 USDT     2,228,250.55 USDT
           21:57:55                                           424,501.75 USDC
           07/02/2022      USDT/USDC       5,500,000 USDT     2,234,934.9 USDT
           21 :59:12                                          425,775 .20 USDC
           07/02/2022      USDH/USDC 400,000 USDH             303,414.00 USDH
           22:06:26                                           34,041.90 USDC
           07/02/2022      USDH/USDC 400,000 USDH             304,323.50 USDH
           22:06:57                                           34,143.95 USDC
           07/02/2022      USDH/USDC       400,000 USDH       304,323.50 USDH
           22:07:23                                           34,143 .95 USDC
           07/02/2022      mSOL/SOL        10,500 mSOL        19,451 mSOL
           22:10:14                                           14,525.55 SOL
           07/02/2022      stSOL/SOL       57,000 stSOL       20,787.95 stSOL
           22:11 :18                                          19,631.50 SOL
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:25:26                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:26:18                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:27:18                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:28:10                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:29:01                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:30:21                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:31 :09                                          602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:32:42                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:34:09                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:36:15                                           602.50 USDC
           07/02/2022      PAI/USDC        840,000 PAI        5,686.65 PAI
           22:37:24                                           602.50 USDC


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             07/03/2022       stSOL/SOL       3,000 stSOL        1,094.10 stSOL
             0:26:08                                             1,033.20 SOL
             07/03/2022       stSOL/SOL       520 mSOL           963.25 mSOL
             0:32:40                                             1,007.1 SOL


The example described in paragraph 17 is shown in the first row of this chart. Like PAI and USDC,

USDT (Tether) and USDH (Hubble) are also digital stablecoins worth approximately one dollar.

As used in the chart, Solana (SOL) is a cryptocurrency and Marinade staked SOL (mSOL) and

Lido staked SOL (stSOL) are liquid staking tokens that users receive upon staking SOL on the

Marinade and Lido protocols.

       19.      After the Attack, the Crypto Exchange initiated a plan to compensate the users

AHMED had victimized.

                      AHMED's Post-Attack Laundering of Stolen Fees

       20.      After SHAKEEB AHMED, the defendant, fraudulently obtained inflated

cryptocurrency fees in the Attack, he laundered the fraud proceeds through a series of transactions

in order to conceal the nature, location, source, and his control of the stolen funds. AHMED

engaged in the following laundering transactions, among others:

                a.        In or about July 2022, after the Attack, AHMED conducted dozens of

transactions exchanging one cryptocurrency token for another.

                b.        In or about July 2022, after the Attack, AHMED "bridged" fraud proceeds

across one blockchain over to another. A bridge contract is a mechanism to transfer cryptocurrency

from one blockchain to another.

                c.        In or about July 2022, after the Attack, AHMED laundered fraud proceeds

through a swap aggregator to other wallets on the Solana blockchain. Swap aggregators aggregate




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liquidity from across different decentralized exchanges to work out more favorable crypto prices

for decentralized exchange traders.

               d.      On or about November 5, 2022, AHMED exchanged fraud proceeds into

the cryptocurrency Monera, an anonymized and particularly difficult cryptocurrency to trace.

               e.      In or about May 2023 , AHMED laundered fraud proceeds through overseas

cryptocurrency exchanges.

                    Post-Attack Communications With the Crypto Exchange

       21.     On or about July 3, 2022, almost immediately after the Attack, the Crypto Exchange

initiated public communications on the blockchain with the unidentified "hacker" of the Crypto

Exchange (in actuality, SHAKEEB AHMED, the defendant) in order to seek the return of the

stolen funds. In these public statements on the blockchain, the Crypto Exchange indicated, among

other things, that it would refer the Attack to law enforcement if the stolen funds were not returned

and offered to pay the then-unidentified hacker $800,000 for the return of all the stolen funds.

       22.     On or about July 6, 2022, a few days after the Attack, SHAKEEB AHMED, the

defendant, using an encrypted email service based overseas, contacted the Crypto Exchange and

stated that he would return a portion of the stolen funds if the Crypto Exchange agreed not to refer

the Attack to law enforcement for investigation. At the time, AHMED was in possession of

approximately $9 million in stolen funds. Specifically, AHMED told the Crypto Exchange that it

was in a "tough spot" and stated that he would keep approximately $2.5 million of stolen

cryptocurrency, noting that he would return of the remainder of the stolen funds to the Crypto

Exchange on the condition that it not refer his conduct to law enforcement.




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       23.     In response, also on or about July 6, 2022, the Crypto Exchange restated its original

figure of$800,000, noting that it was "starting to apply for legal support and in that case it wouldn't

take long to find you" and "[o]therwise, you may face prosecution and likely lose everything."

        24.     On or about July 7, 2022, SHAKEEB AHMED, the defendant, indicated that he

intended to keep $1.8 million of the stolen cryptocurrency and stated, for the first time, that he

would provide, in substance and in part, details on two purported vulnerabilities in the Crypto

Exchange ' s platform and how to improve the Crypto Exchange's code. In doing so, AHMED told

the Crypto Exchange that its post-Attack predicament was a "nightmare scenario." Later that same

day, AHMED returned all but approximately $1.5 million of the fraudulently obtained

cryptocurrency to the Crypto Exchange. The next day, on or about July 8, 2022, AHMED provided

information about the Crypto Exchange's technical vulnerabilities.

                             AHMED's Post-Attack Internet History

        25.     On or about July 5, 2022, just two days after the Attack and before he had

communicated with the Crypto Exchange, SHAKEEB AHMED, the defendant, visited or searched

for information about the Attack itself on the internet. For example:

                a.     AHMED searched for the term "defi hack."

                b.     AHMED visited a news article with the title, "[Crypto Exchange]

Vulnerability Causes DeFi Clients to Lose Millions."

                c.     AHMED visited a news article with the title, "Why Expensive Crypto

Hacks Are The Cost of Doing Business in DeFi."

                d.     AHMED also visited several pages on the Crypto Exchange' s website.




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             26.   On or about July 5, 2022, still before he had communicated with the Crypto

Exchange, SHAKEEB AHMED, the defendant, visited a news article describing a $10 million

bounty that a cryptocurrency bridging platform had paid.

             27.   On or about July 5, 2022, again before he had communicated with the Crypto

Exchange, SHAKEEB AHMED, the defendant, visited or searched for information about white-

collar criminal defense attorneys with expertise in cryptocurrency.

             28.   SHAKEEB AHMED, the defendant, used a particular virtual private network

("VPN-I ") to conceal his Internet Protocol address while he executed the Attack. On or about

July 27, 2022, and continuing into August 2022, AHMED visited or searched for information in

an attempt to confirm that VPN-I could not be traced back to him.

             29.   From approximately July 2022 through approximately December 2022, SHAKEEB

AHMED, the defendant, visited or searched for information about whether he was likely to be

prosecuted for the Attack. In particular:

                   a.    On or about July 5, 2022, still before he had communicated with the Crypto

Exchange, AHMED searched for the term "embezzled."

                   b.    On or about August 6, 2022, AHMED searched for the term "defi hacks

fb I.. "

                   c.    On or about August 8, 2022, AHMED searched for the term "defi hacks

prosecution."

                   d.    On or about August 16, 2022, AHMED searched for "wire fraud, " which is

one of the charges in this Indictment.

                   e.    On or about August 16, 2022, AHMED searched for the term "how to prove

malicious intent."



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                f.        On or about August 20, 2022, AHMED searched for the term "evidence

laundering."

       30.      From approximately August 2022 through approximately December 2022,

SHAKEEB AHMED, the defendant, visited or searched for information about his ability to flee

the United States, avoid extradition, and keep his stolen cryptocurrency. For example:

                a.        On or about August 22, 2022, AHMED searched for the term, "can I cross

border with crypto."

                b.        On or about September 7, 2022, AHMED searched for the terms, "how to

stop federal government from seizing assets" and "how to stop fed govt from seizing assets."

                c.        On or about October 27, 2022, AHMED searched for the term, "buying

citizenship" and visited related websites including: " 16 Countries Where Your Investments Can

Buy Citizenship . ... "

                                   STATUTORY ALLEGATION

       31.      In or about July 2022, in the Southern District of New York and elsewhere,

SHAKEEB AHMED, the defendant, knowingly and with the intent to defraud, accessed a

protected computer without authorization, and exceeded authorized access, and by means of such

conduct furthered the intended fraud and obtained anything of value totaling more than $5,000

during a one-year period, to wit, AHMED committed the Attack on the Crypto Exchange by,

among other means, fraudulently accessing and exploiting without authorization a smart contract

operated by the Crypto Exchange in order to steal approximately $9 million worth of

cryptocurrency.

             (Title 18, United States Code, Sections 1030(a)(4), 1030(c)(3)(A), and 2.)




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                                FORFEITURE ALLEGATION

        32.    As a result of committing the offense alleged in Count One of this Information,

SHAKEEB AHMED, the defendant, shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 1030(i), any and all property, real or personal, constituting or derived from,

any proceeds obtained directly or indirectly, as a result of said offense, and any and all personal

property that was used or intended to be used to commit or to facilitate the commission of said

offense, including but not limited to a sum of money in United States currency representing the

amount of proceeds traceable to the commission of said offense.

                                   Substitute Assets Provision

        33.    If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

               (a) cannot be located upon the exercise of due diligence;

               (b) has been transferred or sold to, or deposited with, a third person;

               (c) has been placed beyond the jurisdiction of the Court;

               (d) has been substantially diminished in value; or

               (e) has been commingled with other property which cannot be subdivided without

difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and




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Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property.

                      (Title 18, United States Code, Sections 981 and 982;
                        Title 21, United States Code, Sections 853; and
                           Title 28, United States Code, Section 2461.)



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                                                     DAMIAN WILLIAMS
                                                     United States Attorney




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